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AFTER RECORDING RETURN TO:
THE LENDING PARTNERS, LTD.
5085 W. PARK BLVD., SUITE 200
PLANO, TEXAS 75093

This Instrument was prepared by:

J. Mare Hesse, P.C.

5085 W. PARK BLYVD., SUITE 200
PLANO, TEXAS 75093
972-665-1900

Loan Numbe

Order Numbe (Space Above This Line For Recording Data}

DEED OF TRUST

“NOTICE OF CONFIDENTIALITY RIGHTS: If you are a natural person, you may remove or strike
any or all of the following information from this instrument before it is filed for record in the public
records: Your social security number or your driver's license number.”

VIN:
DEFINITIONS

Words used in multiple sections of this document are defined below and other words are defined in Sections 3, 11, 13, 18, 20 and 21.
Certain rules regarding the usage of words used in this document are also provided in Section 16,

 

 

(A) “Security Instrument” means this document, which is dated March 2, 2007. together with all Riders ta this document.

(B) “Borrower” is JAMES D. GRISHAM, and spouse YAMILETH D. GRISITAM. Borrower is the grantor under this Security
Instrument.

(C) “Lender” is THE LENDING PARTNERS, LTD., organized and existing under the laws of TEXAS.
Lender's address is 5085 W. PARK BLYD., SUITE 200, PLANO, TEXAS 75093.

(D) “Trustee” is J, MARC ITESSE, P.C.

‘Trustee’s address is 5085 W. PARK BLVD., SUIFE 200, PLANO, TEXAS 75093, COLLIN County.

(E) “MERS” is Mortgage Electronic Registration Systems, Inc. MERS is a separate corporation that is acting solely as a nominee for
Lender and Lender’s successors and assigns. MERS is a beneficiary under this Security Instrument. MERS is organized and existing
under the laws of Delaware, and has an address and telephone number of P.O. Box 2026, Flint, MI 48501-2026, tcl. (888) 679-MERS.

(F) “Note” means the promissory note signed by Borrower and dated March 2, 2007. The Note states that Borrower owes Lender TWO
HUNDRED TWO THOUSAND FIVE HUNDRED and no/100 Dollars (U.S. $202,500.00) plus interest. Borrower has promised lo pay
this debt in regular Periodic Pus ments and to pay the debt in full not later than April 1, 2037.

(G) “Property” means the property that is described below under the heading “Uransfor of Rights in the Property.”

(H) “Loan” means the debt evidenced by the Note, plus interest, uny prepayment charges and late charges due under the Note. and all sums
duc under this Security Instrument, plus interest.

 

 

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Borrower(s) Initials

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(1) “Riders” means all Riders to this Security Instrument that are executed hy Borrower. The following Riders are to be executed by
Borrewer (check box as applicable):

Adjustable Rate Rider CL] Condominium Rider C] Second Home Rider
Balloon Rider X] Planned Unit Development Rider LJ VARider
1-4 Family Rider LJ Biweekly Payment Rider

C1 Other ( Specify)

(J) “Applicable Law” means all controlling applicable tederal. stale and logal statutes. regulations, ordinances and administrative rules and
orders (that have the effeet of law) as well as all applicable final, non-appealable judicial opinigns.

(kK) “Community Association Dues, Fees, and Assessments” means al! dues, fees, assessments and other charges that are imposed on
Borrower or the Property by a condominium association, homeowners assucialion or similar organization.

(L) “Electronic Funds Transfer” means any transfer of funds. other than a transaction originated by cheek, drafi, or similar paper
instrument, which is initiated through an electronic terminal, telephonic instrument, compuler. or magnetic tape so as to order, instruct, oF
authorize a financial institution to debit or credit an accuunt. Such term includes, but is not limited to, point-of-sale transiers, autoniuted
teller machine transactions. transfers initiated by telephone, wire transfers. and automated clearinghuuse translers.

(M) “Escrow Items” means those items that are deseribed in Section 3.

(N) “Miscellancous Proceeds” means any compensation, settlement, award of damages, or proceeds paid by any third party (other than
insurance proceeds paid under the covcrages described in Section 5} for: (i) damage to, or destruction off the Property; (i7) condemnation or
other taking of all or any part of the Property; (iii) conveyance in lieu of condemnation; or (iv) misrepresentations of. or omissions as to, the
value and/or condition of the Property,

(O) “Mortgage Insurance” means insurance protecting Lender against the nonpayment of or default on, the Loan.

(P} “Periodic Payment” means the regularly scheduled amount due for (i} principal and interest under the Note, plus (ij) any amounts
under Section 3 of this Security Instrument.

(Q) “RESPA” means the Real Estate Settlement Procedures Act (12 U.S.C. § 2601 ef seq.) and ils implementing regulation, Regulation
(24 C.F.R. Part 3500), as they might be amended from time to time, of any additional or successor legislation or regulation that governs the
same subject mater, As used in this Security Instrument, "RESPA™ refers to all requirements and restrictions that are imposed in regard to 4
“federally related mortgage loan” even if the Loan dues not qualify as a “federally related mortgage yan” under RESPA.

(R) “Successor in Interest of Borrower” means any party thal has taken title to the Property, whether or nol that party has assumed
Borrower's obligations under the Note and/or this Security Instrument.

TRANS-FER OF RIGHTS IN THE PROPERTY

The beneficiary of this Security Instrument is MERS (solely as nominee for Lender and Lender's successors and assigns) and the successors
and assigns of MERS. This Security Instrument secures to fender: (1) the repayment of the Loan, and all renewals, extensions and
modifications of the Note: and (it} the performance of Borrower's covenants und agreements under this Security Instrument and the Nete.
For this purpose. Borrower irrevocably grants and conveys to Trustee. in trust, with power of sale, the following described property located
in the County of DENTON:

BEING LOT 9, IN BLOCK 15, OF QUAIL MEADOW VILLAGE, PHASE 1, AN ADDITION TO THE CITY OF
FRISCO, DENTON COUNTY, TEXAS, ACCORDING TO THE MAP THEREOF RECORDED IN CABINET U, PAGE
154, OF THE PLAT RECORDS OF DENTON COUNTY, TEXAS.

Parcel Identification Number:

which currently has the address of: 5613 BAY MEADOWS DRIVE
FRISCO, TEXAS 75034-4611 ("Properly Address”):

TOGETHER WITH all the improvements now or hereafler erected on the property, and all easements, appurtenances, and fixtures
now or hereufier a part of the property. All replacements and additions shall also he covered by this Security Instrument. All of the
foregoing is referred to in this Security Instrument as the “Property.” Borrower understands and agrees that MERS holds only Iegal tile Lo
the interests granted by Borrower in this Security Instrument, bul, if necessary to comply with law ar custom, MERS (as nominee for
Lender and Lender’s successors and assigns} has the right: to exercise any or ail of these interests. including, but not limited to. the rightlo
foreclose and sell the Property; and to take any action required of Lender including, but not Iimiled lo, releasing and canceling this Security
Instrument.

 

 

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BORROWER COVENANTS that Borrower is lawlully seised of the estate hereby conveyed and has the right to grant and com ey
the Property and that the Property is unencumbered, except for encumbrances of record. Borrower warrants and will defend generally the
title to the Property against all claims and demands. subject to any encumbrances of record.

THIS SECURITY INSTRUMENT combines uniform covenants lor national use and non-uniform covenants with limited
varialions by jurisdiction to constitute a uniform security instrument covering real property.

UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:

1. Payment of Principal, Interest, Escrow Items, Prepayment Charges, and Late Charges. Borrower shall pay when due the
principal of, and interest on, the debt evidenced by the Note and any prepayment charges and late charges due under the Note. Borrower
shall alsu pay funds for Escrow Items pursuant lo Seclion 3. Payments due under the Note and this Securily Instrument shall be made in
U.S. currency. However, if'any cheek or other instrument received by Lender as payment under the Note or this Security Instrument is
returned to Lender unpaid, Lender may require that any or all subsequent payments due under the Note and this Security Instrument be
made in one or more af the following forms. as selected by Lender: (a) cash: (b) money order: (c) certitied check. bank check, treasurer’s
check or cashier's check. provided any such check is drawn upon an institution whose deposits are insured by a federal agency,
instrumentality, or entity: or Gd) Electronic Funds Transfer.

Payments are deemed received by Lender when reeeived al the location designated in the Note or at such other location as may be
designated by Lender in accordance with the notice provisions in Section 15. Lender may return any payment or partial payment if the
payment or partial payments are insufficient to bring the Loan current. Lender may accept any payment or partial payment insulticient to
bring the Loan current. without waiver ef any rights hereunder or prejudice to its rights lo reluse such payment or partial payments in the
future, but Lender is not obligated to apply such payments at the time such payments are accepted. [Peach Periodic Pas ment is applied as of
its scheduled due date. then Lender need not pay interest on unapplied funds. !ender may hold such unapplied funds until Borrower makes
payment to bring the Loan current. [fF Borrower docs not do so within a reasonable period of time. Lender shall either apply such funds or
return them te Borrower. [fnot applied earlier, such funds will be applied to the outstanding principal balance under the Nele immediately
prior to foreclosure. No offset or claim which Borrower might have now or in the future against] ender shall relieve Borrower from making
payments due under the Note and this Security Instrument or performing the covenants and agreements secured by this Security Instrument.

2. Application of Payments or Proceeds. Except as otherwise described in this Section 2. all payments uccepted and upplied by
Lender shall be applied in the following order of priorily: (a) interest due under the Note; (b) principal due under the Note; (¢) amounts dug
under Section 3. Such payments shall be applied to each Periodi¢ Payment in the order in which it became due. Any remaining amounts
shall be applied first to late charges. secund to any other amounts due under this Security Instrument. and then te reduce the principal
balance of the Note.

if Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a sufficient amount to pay any late
charge due, the payment may be applied to the delinquent payment and the late charge. [more than one Periodic Payment is outstanding.
Lender may apply any payment received Irom Borrower to the repayment of the Periodic Payments if, and to the extent that. cach payment
cun be paid in full. To the extent that any excess exists after the payment is applied to the full payment of one or more Periodic Payments,
such excess may be applied to any late charges due. Voluntary prepayments shall be applicd first to any prepayment charges and then us
described in the Note.

Any application of payments, insurance proceeds, or MisecHancous Proceeds to principal duc under the Note shall not extend or
postpone the due date. or change the amount, of the Periodic Payments,

3. Funds for Escrow Items. Borrower shall pay to Lender an the day Periodic Payments are due under the Note, until the Note is
paid in full, a sum (the “Funds™) to provide for payment of amounts due for: (a) taxes and assessments and other tlems which can attain
priority over this Security Instrument as a lien or encumbrance on the Properly: (b) leasehold payments or ground rents on the Property, if
any: (c) premiums for any and all insurance required by Lender under Section 5; and (d} Mortgage Insurance premiums, ifany, or any sums
payable by Borrower to Lender in liew of the payment of Mortgage Insurance premiums in accordance with the provisions of Section 10.
These items are called “Escrow Items.” At origination or at uny lime during the term of the Loan, Lender may require that Community
Association Dues, Fees, and Assessments, if any, be escrowed by Borrower, and such dues, fees and assessments shall be an Escrow Hem.
Borrower shall promptly furnish to Lender all notices of amounts to be paid under this Section. Borrower shall pay Lender the Funds for
Escrow Items unless Lender waives Borrower's obligation to pay the Funds for any or all l3scrow [tems. Lender may waive Borrower's
‘obligation to pay lo Lender Punds for any or all Escrow Items at any ume. Any such waiver may only be in writing. [n the event of such
waiver, Borrower shall pay directly, when and where payable, the amounts due for any Escrow Items for which payment of Funds has been
waived by Lender and, if Lender requires. shall furnish ta Lender receipts evidencing such payment within such time period as Lender may
require, Borrower's obligation to make such payments and to provide receipts shall for ali purposes be deemed to be a covenant and
agreement contained in this Sveurity Instrument, as the phrase “covenant and agreement” is used in Section 9. I Borrower is obligated to
pay Escrow Items directly, pursuant to a waiver, and Borrower fails to pay the amount due for an Lscrow Item, Lender may exercise its
rights under Section 9 and pay such amount and Borrower shall then be obligated under Section 9 to repay to Lender any such amount.
Lender may revoke the waiver as to any or all Eserow Items at any time by a notice given in accordance with Section 15 and, upon such
revocation, Borrower shall pay to Lender all Funds, and in such amounts, that are then required under this Section 3.

 

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Lender may, at any time, colleet and hold Funds in an amount (4) sufficient to permit Lender to apply the Funds at the time
specilied under RESPA, and (b) nol to exceed the maximum amount a lender can require under RESPA. Lender shall cstimate the amount
of Funds due on the basis of current data and reasonable estimates of expenditures of future Escrow Items or otherwise in accordance with
Applicable Law,

The Funds shall be held in an institution whose deposits are insured by a federal agency, instrumentality, or entity (including
Lender, if Lender is an institution whose deposits are so insured) or tn any Federal Home doan Bank. Lender shall apply the Funds to pay
the Escrow Items no later than the time specified under RESPA. Lender shall not charge Borrower for holding and applying the Funds,
annually analyzing the escrow account. or verifying the Escrow Items, unless Lender pays Borrower interest on the Funds and Applicable
Law permits Lender to make such a charge, Unless an agreement is made in writing or Applicable Jaw requires interest to be paid on the
Funds, Lender shall not be required to pay Borrower any interest or earnings on the Funds. Borrower and Lender can agree in writing.
however, that interest shall be paid on the Funds. Lender shall give to Borrower. without charge. an annual accounting of the Funds as
required by RESPA,

Ifthere is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to Borrower for the excess funds in
accordance with RESPA. IF there is a shortage of Funds held in escrow, as defined under RESPA, Lender shall notify Borrower as required
by RESPA, and Borrower shall pay to Lender the amount necessary le make up the shortage in accordance with RESPA, but in no more
than 12 monthly payments. If there is a deficiency of Funds held in escrow, as defined under RESPA, Lender shall notify Borrower as
required by RESPA, and Borrower shall pay to Lender the amount necessary te make up the deficieney in accordance with RESPA, butin
ne more than 12 monthly payments.

Upon payment in full ofall sums secured by this Security (Instrument, Lender shall promptly refund to Borrower any Funds held by
Lender.

4. Charges; Liens. Borrower shall pay all taxes. assessments, charges, fines, and impusitions altribulable to the Property which
can attain priority over this Security Instrument. leasehold pas ments or ground rents on the Property. if any. and Community Association
Dues. Fees. and Assessments, if any. To the extent that these items are Escrow Items. Borrower shall pay them in the manner provided in
Section 3, .

Borrower shall promptly discharge any lien which has priority over this Security Instrument unless Borrower: (2) agrees in writing
io (he payment of the obligation secured by the lien in a manner acceptable to Lender, but only so long as Borrower is performing such
agreement: (b) contests the lien in good faith by. or defends against enlorcement of the lien in, legal proceedings which in Lender's opinion
Operate to prevent the enforcement of the lien while those proceedings are pending, but only until such proceedings are concluded; or (e)
secures [rom the holder of the lien an agreement satisfactory to Lender subordinating the lien to this Security Instrument. Hf Lender
determines that any part of the Property is subject to a Hien Which can altain priority over this Security Instrument. Lender may give
Borrower a notice identifying the lien, Within 10 days of the date on which that notice is given, Borrower shall satisfy the lien or take one
or more of the actions set forth above in this Section 4.

Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or reporting service used by Lender in
connection with this Loan.

5. Property Insurance. Borrower shall keep the improvements now existing or hereafter erected on the Property insured against
lugs by fire, hazards included within the term “extended coverage,” and any other hazards including, but not limited to, earthquakes and
Moods. for which Lender requires insurance. This insurance shall be maintained in the amounts (including deductible levels) and for the
periods that Lender requires, What Lender requires pursuant to the preceding sentences can change during the term of the Loan. The
insurance carrier providing the insurance shall be chosen by Borrower subject to | ender’s right to disapprove Borrower's choice. which
right shall not be exercised unreasonably. Lender may require Borrower to pay, in connection with this Loan, either: (a) a one-time charge
for flood zone determination, certification and tracking services; or (b) a one-time charge for flood zone determination and certilication
services and subsequent charges each time remappings or similar changes vecur which reasonably might affect such determination or
certification. Borrower shall also be responsible for the payment of any fees imposed by the Federal Emergency Management Agency in
connection with the review of any flood zone determination resulting from an objection by Borrower.

If Borrower fails to maintain any of the coverages described above, |-ender may obtain insurance coverage, at Lender's option and
Borrower's expense. Lender is under no obligation to purchase any particular type or amount of coverage. Therelore. such coverage shall
cover Lender. but might or might not protect Borrower, Borrower's equity in the Property, or the contents of the Properly, against any risk.
hazard or liability and might provide greater or lesser coverage than was previously in effect. Borrower acknowledges that the cost of the
insurance coverage so obtained might significantly exceed the cost of insurance that Borrower could have obtained. Any amounts disbursed
by Lender under this Section 5 shall become additional debt of Borrower secured by this Security Instrument. These amounts shall bear
interest at the Note rate from the date of disbursement and shall b¢ payable, with such interest, upon notice from Lender to Borrower
requesting payment.

All insurance policies required by Lender and renewals ef such policies shall be subject to Lender's right to disapprove such
policies. shall include a standard mortgage clause, and shall name Lender as mortgagee and/or as an additional loss payee. Lender shall
have the right to hold the policies and renewal certificates. Lender requires, Borrower shall promptly give to Lender all receipts of paid
premiums and renewal notices. If Borrower obtains any form of insurance coverage, not otherwise required by Tender, for damage to. or

 

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destruction of, the Property, such policy shall inelude a standard mortgage clause and shall name Lender as mortgagee and/or as an
additional loss payee.

In the event of loss, Borrower shall give prompt notice to the insurance currier and Lender. Lender may make proof of loss ifnot
made promptly by Borrower. Unless Lender and Borrower otherwise agree in wriling, any insurance proceeds, whether or not the
underlying insurance was required by Lender, shal! be apptied lo restoration or repair of the Property, if the restoration or repair ts
economically feasible and Lender's security is not lessened. During such repair and restoration period. Lender shall have the right to hold
such insurance proceeds until Lender has had an epportunity to inspect such Property to ensure the work has been completed to Lender's
satisfaction, provided that such inspection shall be undertaken promptly. Lender may disburse proceeds for the repairs and restoration ina
single payment or in a series of progress payments as (he work is completed. Unless an agreement is made in writing or Applicable Law
requires interest to be paid on such insurance proceeds. Lender shall nut be required to pay Borrower any interest or earnings en such
proceeds. Fees for public adjusters, or other third parties, relwined by Borrower shall not be paid out of the insurance proceeds and shall be
the sole obligation of Borrower. Hf the restoration or repair is not economically feasible or Lender's security would be lessened, the
insurance proceeds shall be applied to the sums secured by this Security Instrument, whether or not then due, with the excess. il any, paid to
Borrower. Such insurance proceeds shall be applied in the order provided tor in Section 2.

If Borrower abandons the Property. Lender may file. negotiate and settle any available insurance claim and related matters. [f
Borrower does not respond within 30 days to a notice from Lender that the insurance carrier has offered to settle a claim, then Lender may
negotiate and settle the claim. The 30-das period will begin when the notice is given. In either event, or if Lender aequires the Property
under Section 22 or otherwise. Borrower hereby assigns to | ender (a) Borrower's rights ty any insurance proceeds in an amount not to
execed the amounts unpaid under the Note or this Security Instrument, and {b) any other of Borrower's rights (other than the right to any
refund of unearned premiums paid by Borrower) under all insurance policies covering the Properly. insofar as such rights are applicable to
the coverage of the Property. lender may use the insurance proceeds either to repair or restore the Property or to pay amounts unpatd under
the Nule or this Security Instrument, whether or not then due.

6. Occupancy. Borrower shall occupy. establish, and use the Property as Borrower's principal residence within 60 days alter the
exccution of this Security Instrument and shall continue to occupy the Property as Borrower's principal residence for at leust one year alter
ihe date of occupancy, unless Lender ofhenvise agrees in writing, which consent shall not be unreasonably withheld, or unless extenuating
circumstances exist which are beyond Borrower’s control.

7. Preservation, Maintenance and Protection of the Property; Inspections. Borrower shail not destroy, damage or impair the
Property, allow the Property to deterivrate or commit waste on the Property, Whether or not Borrower is residing in the Properly, Borrower
shall maintain the Property in order to prevent the Properly from deteriorating or decreasing in value duc to its condition. Unless it is
determined pursuant to Section § that repair or restoration is not economically feasible. Borrower shall promptly repair the Property if
damaged to avoid further deterioration or damage. If insurance or condemnation proceeds are paid in connection with damage ly, or the
taking ot, the Property, Borrower shall be responsible for repairing or restoring the Property only if Lender has released proceeds for such
purposes, Lender may disburse proceeds for the repairs and restoration in a single payment or in a series of progress payments as the work
is completed. If the insurance er condemnation proceeds are not sufficient to repair or restore the Property, Borrower is not relieved of
Borrower's obligation for the completion of such repair or restoration,

Lender or its agent may make reasonable entries upon and inspections of the Property. [fit has reasonable cause. Lender may
inspect the interior of the improvements on the Property. Lender shall give Borrower notice at the time of or prior to such an interior
inspection specifving such reasonable cause.

§. Borrower's Loan Application, Borrower shali be in default if, during the Loan application process. Borrower or any persons or
entities acting at the direction of Borrower or with Borrower's knowledge or consent gave materially false. misleading. or inaccurate
information or statements to Lender (or failed to provide Lender with material information) in connection with the Loan. Material
representations include, but are not timited (o, representations concerning Borrower's occupancy of the Property as Borrower's principal
residence.

9. Protection of Lender's Interest in the Property and Rights Under this Security Instrument. If(a) Borrower Luils to perform
the covenants und agreements contained in this Securily Instrument, (b) there is a legal preceeding thal might significantly affect Lender’s
interest in the Property and/or rights under this Security Instrument (such as a proceeding in bankruptcy, probate, for condemnation or
forfeiture, for enforcement of a lien which may attain priority over this Security Instrument or to enforce laws or regulations). or
(c) Borrower has abandoned the Property, then Lender may do and pay for whatever is reasonable or appropriate to protect Lender's interest
in the Property and rights under this Security Instrument, including protecting and/or assessing the value of the Property, and securing
and/or repairing the Property. Lender*s actions can include, bul are not Limited to: (a) paying any sums secured by a lien which has priority
over this Security Instrument: (b} appearing in court: and (c} paying reasonable atlorneys’ fees lo protect its interest in the Property and/or
rights under this Security Instrument. including its secured position in a bankruptey proceeding. Sceuring the Property includes, but is not
limited ty, entering the Property to make repairs, change locks, replae or board up doors and windows, drain water from pipes, climinate
building or other code violations or dangerous conditions, and have utilities turned on or off. Although Lender may take action under this
Section 9, Lender does not have to de so and is not under any duty or obligation to do so. It is agreed that Lender incurs no liability for not
taking any or all actions authorized under this Section 9.

 

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Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower secured by this Security
Instrument. These amounts shall bear interest at the Nole rale from the dale of disbursement and shall be payable. wilh such interest. upon
notice from Lender 10 Borrower requesting payment.

If this Security Instrument is on a leaschold, Borrower shall comply with all the provisions of the lease. Borrower sha!l not
surrender the leasehold estate and interests herein conveyed or terminate or cancel the ground lease. Borrower shall not, without the express
written consent of Lender, aller or amend the ground lease. If Borrower acquires fee tithe to the Property, the leasehold and the fee title shall
nut merge unless Lender agrees to the merger in writing.

10. Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the Luan, Burrower shall pay the
premiums required to maintain the Mortgage insurance in elfect. Jf. for any reason, the Mortgage Insurance coverage required by Lender
ceases to be available from the mortgage insurer that previously provided such insurance and Borrower was required to make separately
designated payments toward the premiums for Mortgage Insurance, Borrower shall pay the premiums required to obtain coverage
substantially equivalent to (he Mortgage Insurance previvusly in effeet, at a cost substantially cquivalent to the cost to Borrower of the
Mortgage Insurance previously in effect. from an alternate mortgage insurer selected by Lender. If substantially equivalent Mortgage
Insurance coverage is not available, Borrower shall continue ly pay to Lender the umount ofthe separately designated payments that were
due when the insurance coverage ceased to be in effect. Lender will accept, use and retain these payments as a non-retundable loss reserve
in lieu of Mortgage Insurance. Such loss reserve shall be non-refundable, notwithstanding the fact that the Loan is ultimately paid in full,
and Lender shall not be required to pay Borrower any interest or earnings on such loss reserve. Lender can no longer require loss reserve
payments i Mortgage Insurance coverage (in the amount and for the period that | ender requires) provided by an insurer selected by Lender
again becomes available, is obtained, and Lender requires separalely designated payments toward the premiums tor Mortgage Insurance. if
Lender required Mortgage Insurance as a condition of making the Loan and Borrower was required to make separately designated pay ments
toward the premiums for Mortgage Insurance. Borrower shall pay the premiums required to maintain Mortgage Insurance in effect, or to
provide a non-refundable loss reserve, until Lender's requirement lor Mortgage Insurance ends in accordance with any wrilten agreement
between Borrower and Lender providing for such termination or until termination is required by Applicable Law. Nothing in this Section 10
allects Borrower's obligation to pay interest at the rate provided in the Nate.

Mortgage Insurance reimburses Lender (ur any entily that purchases the Note) for certain losses it may incur if Borrower does not
repay the Loan as agreed. Borrower is not a party to the Morgage Insurance.

Mortgage insurers evaluate their total risk on all such insurance in force from time to lime. and may enter into agreements with
other parties that share or modify their risk. or reduce losses. These agreements are on terms and conditions that are satisfactory to the
morlgzage insurer and the other party (or parties) lo these agreements. These agreements may require the morlgage insurer lo make payments
using any source of funds that the mortgage insurer may have available (which may include funds obtained from Mortgage Insurance
premiums).

As aresult of these agreements, Lender, any purchaser of the Note, another insurer, any reinsurer. any other entity, or any affiliate
of any of the foregoing, may receive (directly or indirectly) amounts that derive from (or might be characterized as} a portion of Borrower's
payments for Morigage Insurance, in exchange for sharing or modifying the mortgage insurer’s risk, or reducing losses. I! such agreement
provides that an affiliate of Lender takes a share of the insurer's risk in exchange for a share of the premiums paid to the insurer, the
arrangement is often termed “cuplive reinsurance.” Further:

(a) Any such agreements will not affect the amounts that Borrower has agreed to pay for Mortgage Insurance, or any other
terms of the Loan. Such agreements will not increase the amount Borrower will owe for Mortgage Insurance, and they will not
entitle Borrower to any refund.

(b) Any such agrecments will not affect the rights Borrower has — if any — with respect to the Mortgage Insurance under
the Homeowners Protection Act of 1998 or any other law, These rights may include the right to receive certain disclosures, to
request and obtain cancellation of the Mortgage Insurance, to have the Mortgage Insurance terminated automatically, and/or to
receive a refund of any Mortgage Insurance premiums that were unearned at the time of such cancellation or termination.

11. Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are hereby assigned to and shall be paid to
Lender,

[the Properly is damaged, such Miscellaneous Proceeds shall be applied to resturation or repair of the Property, ifthe restoration
or repair is economically feasible and f.ender’s security is not lessened. During such repair and restoration period, Lender shall have the
right to held such Miscellaneous Proceeds until Lender has had an opportunity to inspect such Property to ensure the work has been
completed to Lender’s satisfaction, provided that such inspection shall be undertaken promptly. Lender may pay for the repairs and
restoration ina single disbursement or in a series of progress payments as the work is completed. Unless an agreement is made in writing or
Applicable Law requires interest te be paid on such Miscellaneous Proceeds, Lender shall not be required to pay Borrower any Interest or
earnings on such Miscellancous Proceeds. Ifthe restoration or repair is not economically feasible or Lender's security would be lessened,
the Miscellaneous Proceeds shall be applied to the sums secured by this Security Instrument, whether or not then due, with the excess, if
any, paid to Borrower. Such Miscellancous Proceeds shall be applied in the order provided for in Section 2.

In the event ofa total taking, destruction, or loss in value of the Property. the Miscellancous Proceeds shall be applied to the sums
secured by (his Security Instrument, whether or not then due, with the excess, ifany, paid 1a Borrower.

 

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In the event of a partial taking. destruction. or loss in value of the Property in whieh the fair market value of the Property
immedtately belore the partial taking, destruction. of loss in value is equal to or greater than the amount of the sums secured by this Security
Instrument immediately belore the partial taking, destruction, or loss in value, uniess Borrower and Lender otherwise agree in writing, the
sums secured by this Securily Instrument shall be reduced by the umount of the Miscellaneous Proceeds multiplied by the following
fraction: (a) the total amount of the sums secured immediately before the partial taking. destruction. or loss in value divided by (b) the fair
market value of the Properly immediately before the partial taking, destruction. or loss in value. Any balance shall be paid to Borrower.

In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value of the Property
immediately before the partial taking, destruction, or loss in value is less (han the amount of the sums secured immediately before the partial
taking. destruction. or loss in value. unless Borrower and Lender otherwise agree in writing, the Miscellaneous Proceeds shall be applied to
the sums secured by this Security Instrument whether or net the sums are then due.

Ifthe Properly is abandoned by Borrower, or if, after notice by Lender lo Borrower thal the Opposing Party (as defined in the next
sentence) offers to make an award to settle a claim for damages, Borrower fails to respond lo 1ender within 30 duvs aller the date the notice
is given, Lender is authorized to collect and apply the Miscellaneous Proceeds cither to restoration or repair of the Property or to the sums
secured by this Security Instrument, whether or not then duc. “Opposing Party” means the third party that owes Borrower Miscellancous
Proceeds or the party against whom Borrower has a right of action in regard to Miscellaneous Proceeds.

Borrower shall be in default tfany action or proceeding, whether civil or criminal, is begun that. in Lender*s judgment. could resull
in forfeiture of the Property or other material impairment of Lender's interest in the Property or rights under this Security Instrument.
Borrower can cure such a default and, if acceleration has occurred, reinstate as provided in Section 19, by causing the action or proceeding
lo be dismissed with a ruling that. in Lender's judgment. precludes forfeiture of the Property or other material impairment of Lender's
interest in the Property or rights under this Security Instrument. The proceeds of any award or claim for damages that ure attributable to the
impuirment of Lender's interest in the Property are hereby assigned and shall be paid to Lender,

All Miscellaneous Proceeds that are not applied ta restoration or repair ofthe Property shall be applied in the order provided tor in
Section 2.

12. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time for payment or modification of
amortization of the sums secured by this Security Instrument granted by Lender to Borrower or any Successor in Interest of Borrower shall
not operate to release the liability of Borrower or any Successors in Interest of Borrower. Lender shall not be required to commence
proceedings against any Successor in Interest of Borrower or to refuse to extend time for payment or otherwise modify amortization ofthe
sums secured by this Security Instrument by reason of any demand made by the original Borrower or any Successors in Interest of
Borrower. Any forbearance by Lender in exercising any right or remedy including, without limitation. Lender's acceptance of payments
from third persons, entities or Successors in Interest of Borrower or in amounts less than the amount then duc, shall not be a waiver of or
prectude the exercise of any right or remedy.

13. Joint and Several Liability; Co-signers; Successors and Assigns Bound. Borrower covenants and agrees thal Borrower's
obligations and liability shall be joint and sev eral. However, any Borrower who vo-signs this Security Instrument but does not execute the
Note {a “co-signer™): (a) is co-signing this Security Instrument only to mortgage, grant and convey the co-signer’s interest in the Property
under the terms of this Security Instrument: (b) is not personally obligated to pay the sums secured by this Security Instrument; and (c)
agrees that Lender and any other Borrower can agree to extend, modil¥, forbear or make any accommodations with regard to the terms of
this Security Instrument or the Note without the co-signer’s consent,

Subject to the provisions of Section 18. any Successor in Interest of Borrower who assumes Borrower's obligatiyns under this
Security Instrument in writing, and is approved by Lender, shall obtain all of Borrower's rights and henedits under this Security Instrument.
Borrower shall not be released from Borrower's obligations and liability under this Security Instrument unless Lender agrees to such release
in writing. The covenants and agreements of this Security Instrument shall bind (except as provided in Section 20) and benefit the
successors and assigns of Lender.

14, Loan Charges. Lender may charge Borrower [ees for services performed in connection with Borrower's default, for the
purpose of protecting Lender’s interest in the Property and rights under this Security Instrument, including, but not limited to, attorneys
fees. property inspection and valuation fees. In regard to any other fees, the absence of express authority in this Security Instrument to
charge a specific fee to Borrower shall nol be construed as a prohibition on the charging of such fee. Lender may not churge fees that are
expressly prohibited by this Security Instrument or by Applicable Law.

[f the Loan is subject to a law which sets maximum loun charges, and that law is finally interpreted so that the interest or other loan
charges collected or lo be collected in connection with the Loan exceed the permitted limits, then: (4) any such loan charge shall be reduced
by the amount necessary to reduce the charge to the permitted limit; and (b) any sums already collected from Borrower which exceeded
permitted limils will be refunded to Borrower, Lender may choose to make this refund by reducing the principal owed under the Note or by
making a direct payment to Borrower. Ifa refund reduces principal. the reduction will be treated us a partial prepayment without any
prepayment charge (whether or not a prepayment charge is provided for under the Note), Borrower's acceptance of any such refund made
by direct payment to Borrower will constitute a waiver of any right of action Borrower might have arising out of such overcharge.

15. Notices. All notices given by Borrower or Lender in connection with this Security Instrument must be in writing. Any notice to
Borrower in connection with this Security Instrument shall be deemed to have been given to Borrower when mailed by first class mail or

 

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when actually delivered to Borrower's notice address if sent by other means. Notice to any one Borrower shall constitute notice to all
Borrowers unless Applicable Law expressly requires otherwise. The notice address shall be the Property Address unless Borrower has
designated a substitute notice address by notice lo Lender. Borrower shall promptly notify Lender of Borrower's change of address. If
Lender specilies a procedure for reporting Borrower's change of address, then Borrower shall only report a change of address through that
spevilied procedure. There muy be only ong designated nutice address under this Security Instrument atany one time. Any notice to Lender
shall be given by delivering itor by mailing it by first class mail to Lender's address stated herein unless [ender has designated another
address by notice to Borrower. Any notice in connection with this Security Instrument shall not be deemed to have been given to Lender
until actually received by Lender. IPany notice required by this Security Instrument is alsu required under Applicable Law, the Applicable
Law requirement will satisfy the corresponding requirement under this Security Instrument.

16. Governing Law; Severability; Rules of Construction. This Security Instrument shall be governed by federal law and the law
of the jurisdiction in which the Property is located. All rights and ubligalions contained in this Security Instrument are subject to any
requirements and limitations of Applicable Law. Applicable Law might explicitly or implicitly allow the parlies to agree by contract or it
might be silent, but such silence shall not be construed as a prohibition against agreement by contract. In the event that any provision or
clause of this Security Instrument or the Note conflicts with Applicable Law, such conflict shall not affect other provisions of this Security
Instrument or the Note which can be given effect without the conflicting provision.

As used in this Security Instrument: (a) words of the masculine gender shall mean and include corresponding neuter words or
words of the feminine gender: (b) words in the singular shall mean and include the plural and vice versa: and (c) the word “may” gives sole
discretion without any obligation to take any action.

17, Borrower's Copy. Borrower shall be given one copy of the Note and of this Security Instrument.

18. Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 18, “Interest in the Property” means
any legal or beneficial interest in che Property. including, but not limited 10, those beneficial interests transferred in a bond for deed, contract
for deed. installment sales contract or escrow agreement. the intent of which is the transfer of tile by Borrower at a future date to a
purchaser.

If all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is nota natural person and a
beneficial interest in Borrower is sold or transferred} withoul Lender’s prior written consent, Lender may require immediate payment in full
of all sums secured by this Security Instrument. However, this option shall not be exercised by Lender if such exercise is prohibited by
Applicable Law.

If ].ender exercises this option, Lender shall give Borrower nolice of acceleration. The notice shall provide a period ofnut less than
30 days from the date the notice is given in accordance with Section 15 within which Borrower must pay all sums secured by this Security
Instrument. if Borrower fails to pay these sums prior to the expiration of this period, Lender may inveke any remedies permitted by this
Security Instrument without lurther notice or demand on Borrower.

19. Borrower's Right to Reinstate After Acceleration. If Borrower meets certain conditions, Borrower shal] have the right to
have enforcement of this Securily Instrument discontinued at any time prior to the carliest off (a) five days belore sale of the Property
pursuant lo any power of sale contained in this Security Instrument; (b) such other period as Applicable Law might specify for the
termination of Borrower's right to reinstate: or (¢) entry of a judgment enloreing this Security Instrument. Those conditions are that
Borrower: (a) pays Lender all sums which then would be due under this Security Instrument and the Note as ifne acceleration had occurred:
(b} cures any delaull of any other covenants or agreements: (c} pays all expenses incurred in enforcing this Security Instrument. including,
but nut limited to, reasonable attorneys* fees, properly inspection and valuation fees, and other fees incurred for the purpose of protecting
Lender's interest in the Property and rights under this Security Instrument; and (d) takes such uction as Lender may reasonably require to
assure that | .ender’s interest in the Property and rights under this Security Instrument, and Borrower's obligation te pay the sums secured by
this Security Instrument, shall continue unchanged. Lender may require that Berrower pay such reinstatement sums and expenses in one or
more of the following forms, as selected by Lender: (a) cash; (b) money order; (c) certified check, bank check, treasurer's check or cashier's
check, provided any such check is drawn upon an institution whose depesits are insured by a federal agency, instrumentality or entity; or
(d) Electronic Funds Transfer. Upon reinstatement by Borrower, this Security Instrument and obligations secured hereby shall remain fully
effective as if no acceleration had occurred, However, this right to reinstate shall not apply in the case of acceleration under Section 18.

20. Sale of Note; Change of Loan Servicer; Notice of Grievance. The Note or a partial interest in the Note (tagether with this
Security Instrument) can be sold one or more times without prior notice to Borrower. A sale might result in a change in the entity (known as
the “Loan Servicer”) that colleels Periodic Payments due under the Note and this Security Instrument and performs other mortgage loan
serviging obligations under the Note, this Security Instrument, and Applicable Law. There also might be one or more changes of the {oan
Servicer unrelated to a sale of the Nate, [fthere is a change of the Loan Servicer. Borrower will be given written notice of the change which
Will state the name and address of the new Loan Servicer, the address to which payments should be made and any other information RESPA
requires in connection with a notice of transfer of servicing. Ifthe Note is sold und thereafler the Loan is serviced by a Loan Servicer other
than the purchaser of the Note, the mortgage [van servicing obligations to Borrower will remain with the Loan Servicer or be transferred to
a successor Loan Servicer and are not assumed by the Note purchaser unless otherwise provided by the Note purchaser.

Neither Borrower nor Lender may commence, join, or be joined to any judicial action (as cither an individual litigant or the
member of a class) that arises from the other party's actiuns pursuant tu this Security Instrument or that alleges that the other party has

 

 

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breached any provision of, or any duty owed by reason of, this Security Instrument. until such Borrower or Lender has notified the other
party (wilh such notice given in compliance with the requirements of Section 15) of such alleged breach and afforded the other party hereto
a reasonable period alter the giving of such notice to take corrective action. If Applicable Law provides a time period which must clapse
before certain action cun be taken, that time period will be deemed to be reasonable for purposes of this parayraph. The notice of
acceleration and opportunity to cure given to Borrower pursuant to Section 22 und the notice of acceleration gisen to Borrower pursuant to
Section L& shall be deemed to satisfy the notice and opportunity to luke corrective action provisions uf this Section 20.

21. Hazardous Substances. As used in this Section 21: (a) "Hazardous Substances” are those substances defined as toxic or
hazardous substances, polfutants, of wastes by Environmental Law and the following substances: gasoline, kerosene, other flammable or
toxic petroleum products, toxic pesticides und herbicides. volatile solvents, materials containing asbestos or formaldehyde. and radiouctive
materials; (by “i:nvironmental Law” means federal laws and laws of the jurisdiction where the Property is located that relate lo health, safety
or environmental protection; (¢) “Environmental Cleanup” includes any response action, remedial action, or removal action. as detined in
Environmental Law; and (d) an “Environmental Condition” means a condition that can cuuse, contribute to. or otherwise trigger an
Environmental Cleanup.

Borrower shall not cause or permit the presence, use. disposal. storage, or release of any Hazardous Substances. or threaten to
release any Hazardous Substances, on or in the Property. Borrower shall not de. nor allow anyone else to do. anything affecting the Property
(a) that is in violation of any Environmental Law, (b) which creates an Environmental Condition, or (c} which, due to the presence, use. or
release ofa} lazardous Substance. creates a condition that adversely affects the value of the Property. lhe preceding two sentences shall not
apply 16 the presence. use. or storage on the Property of small quantities of Hazardous Substances that are generally recognized to be
appropriate to normal residential uses and to maintenance of the Property (including, but not limited to. hazardous substances in consumer
products).

Borrower shall promptly give Lender written notice of (a) any investigation, claim. demand, lawsuil or other action by any
governmental or regulatory agency or private party involving the Property and any Hazardous Substance or Environmental law of which
Borrower has actual knowledge, (b) any Environmental Condition, including but not limited to, any spilling. leaking, discharge, release or
threat of release of any Hazardous Substance, and (¢} any condition caused by the presence. use or release ofa [lazardous Substance which
adversely affects the value of the Property. If Borrower learns, or is notified by any governmental or regulatory authorily. or any private
party, that any removal or other remediation ofany [lazardous Substance affecting the Property is necessary. Borruwer shall promptly ke
all necessary remedial actions in accordance with Environmental Law. Nothing herein shall create any obligation on Lender for an
Lnvironmental Cleanup.

NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agrec as follows:

22. Acceleration; Remedies. Lender shall give notice to Borrower prior to acceleration following Borrower's breach of any
covenant or agreement in this Security Instrument (but not prior to acceleration under Section 18 unless Applicable Law provides
otherwise). The notice shall specify: (a) the default; (b) the action required to cure the default; (c) a date, not less than 30 days from
the date the notice is given to Borrower, by which the default must be cured; and (d)} that failure to cure the default on or before the
date specified in the notice will result in acceleration of the sums secured by this Security Instrument and sale of the Property. The
notice shall further inform Borrower of the right to reinstate after acceleration and the right to bring a court action to assert the
non-existence of a default or any other defense of Borrower to acccleration and sale. If the default is not cured on or before the date
specified in the notice, Lender at its option may require immediate payment in full of all sums secured by this Security Instrument
without further demand and may invoke the power of sale and any other remedies permitted by Applicable Law. Lender shall be
entitled to collect all expenses incurred in pursuing the remedies provided in this Section 22, including, but not limited to,
reasonable attorneys’ fees and costs of title evidence. For the purposes of this Section 22, the term “Lender” includes any holder of
the Note who is entitled to receive payments under the Note.

If Lender invokes the power of sale, Lender or Trustee shall give notice of the time, place and terms of sale by posting and
filing the notice at least 21 days prior to sale as provided by Applicable Law. Lender shall mail a copy of the notice to Borrower in
the manner prescribed by Applicable Law. Sale shall be made at public vendue. The sale must begin at the time stated in the notice
of sale or not later than three hours after that time and between the hours of 10 a.m, and 4 p.m. on the first Tuesday of the month.
Borrower authorizes Trustee to sell the Property to the highest bidder for cash in one or more parcels and in any order Trustee
determines. Lender or its designee may purchase the Property at any sale.

Trustee shall deliver to the purchaser Trustee's deed conveying indefeasible title to the Property with covenants of general
warranty from Borrower. Borrower covenants and agrees to defend generally the purchaser's title to the Property against all
claims and demands. The recitals in the Trustee’s deed shall be prima facie evidence of the truth of the statements made therein.
Trustee shall apply the proceeds of the sale in the following order: (a) to all expenses of the sale, including, but not limited to,
reasonable Trustee’s and attorneys’ fees; (b) to all sums secured by this Security [nstrument; and (c) any excess to the person or
persons legally entitled to it.

If the Property is sold pursuant to this Section 22, Borrower or any person holding possession of the Property through
Borrower shall immediately surrender possession of the Property to the purchaser at that sale. If possession is not surrendered,
Borrower or such person shall be a tenant at sufferance and may be removed by writ of possession or other court procecding.

 

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23. Release. Upon payment of all sums secured by this Security Instrument, Lender shall provide a release of this Security
Instrument to Borrower or Borrower's designated agent in accordance with Applicable Law. Borrower shall pay any recordation costs.
Lender may charge Borrower a fee for releasing this Security Instrument, but only ifthe fee is paid to a third party for services rendered and
the charging ofthe fee is permitted under Applicable Law.

24. Substitute Trustee; Trustee Liability. All rights, remedies and duties of Trustee under this Security Instrument may be
exercised or performed by one or more trustees acting alone or together, Lender. at its option and with or without cause, may from time lo
vtime, by power of attorney or otherwise, remove or substitute any trustee, add one or more trustees. or appoint a successor trustee lo any
Trustee without the necessity of any formality other than a designation by Lender in writing. Without any Jurther act or conveyance of the
Properly the substitute, additional or successor trustee shall become vested with the lille, rights, remedies, powers and duties conferred upon
‘Trustee herein and by Applicable iavw.
Trustee shall not be liable ifacting upon any notice, request, consent, demand, statement or other document believed by Trusice ta
be correct. Trustee shall not be diable for any act or omission unless such act or omission is willful.

25, Subrogation. Any of the proceeds of the Note used to take up outstanding liens against all or any part of the Property have
been advanced by Lender at Borrower's request and upon Borrower's representation that such amounts are due and are secured by valid
liens against the Property. |ender shall be subrugated to any and all rights, superior lites. liens und equities owned or claimed by any owner
or holder of any outstanding liens and debts, regardless of whether said liens or debts are acquired by Lender by assignment or are released
by the holder thereof upon payment.

26. Partial Invalidity. In the event any portion of the sums intended tu be secured by this Security Instrument cannot be lawful
secured hereby. payments in reduction of such sums shall be applied first to those portions not secured hereby,

27. Purchase Money; Owelty of Partition; Renewal and Extension of Liens Against Homestead Property; Acknowledgment
of Cash Advanced Against Non-Homestead Property. Check box as applicable:

Purchase Money.

The funds advanced to Borrower under the Note were used to pay ull or part of the purchase price of the Property. The Note also is
primarily secured by the vendor’s lien retained in the deed of even date with this Security Instrument conveying the Property to Borrower,
which vendor's lien has becn assigned to Lender, this Security Instrument being additional security for such vendor's lien.

Owelty of Partition.

The Note represents funds advanced by Lender at the special instance and request of Borrower fur the purpose of acquiring the
entire tec simple title to the Property and the existence ofan owelly of partition imposed against the entirely of (he Property by a court order
or by a written agreement of the purlies to the partition to secure the payment of the Note is expressly acknowledged. confessed and granted.

Renewal and Extension of Liens Against Homestead Property.

The Note is in renewal and extension, bul not in extinguishment, of the indebtedness deseribed on the attached Renewal and
Extension Exhibit which is incorporated by reference. Lender is expressly subrogated to all rights, liens and remedies securing the original
holder of'a note evidencing Borrower’s indebtedness and the original liens securing the indebtedness are renewed and extended to the date
of maturity of the Note in renewal and extension of the indebtedness.

Acknowledgment of Cash Advanced Against Non-Homestead Property.

The Note represents funds advanced to Borrower on this day at Borrower's request and Borrower acknowledges receipt of such
funds. Borrower slates that Borrower does not now and does not intend ever to reside on, use in any manner, or claim the Property secured
by this Security Instrument us a business or residential homestead. Borrower disclaims all homestead rights, interests und exemptions
related to (he Property.

28. Loan Not a Home Equity Loan. The Loan evidenced by the Note is not an extension of credit as defined by Section
§((a)(6) or Section 40(a)(7), Article XVI, of the Texas Constitution. Ifthe Property is used as Borrower's residence, then Borrower
agrees that Borrower will receive no cash from the Loan evidenced by the Note and that any advances not necessary ¢o purchase the
Property, extinguish an owelty lien, complete construction, or renew and extend a prior lien against the Property, will be used to
reduce the balance evidenced by the Note or such Loan will be modified to evidence the correct Loan balance, at Lender's option.
Borrower agrees to execute any documentation necessary to comply with this Section 28.

 

 

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BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in this Security [nstrument and
in any Rider executed by Borrower and recorded with it.

Witnesses;

 

 

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JAMES D. GRISHAM BY YAMILETH ID | a LETH D. GRISHAM

GRISHAM AS ATTORNEY IN FACT Borrower Borrower

STATE OF TE
County of

   

Belore me / e Vers on this day personally appeared JAMES D. GRISITAM BY YAMILETH D.
GRISHAM AS ATTORNEY IN FACT, 3 YAMILETH D. GRISHAM, known to me (or proven to me on the oath of

or thryugh Ly 4G- Z ¢ Cor seb the person Whose name is subscribed to the foregoing instrument
and acknowledged to me that he hey execuled tht same for the purposes and consideration therein expressed,

Given under my hand and seal of office this ) day tf) grep CO7

My Commission Expires:

 

  

 

 

(Seal)
LISA STEVENS
Notary Public \
State of Texas otary Public
Comm. Expires 4-13-2008 { ,
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Loan Nuno MN: |
PLANNED UNIT DEVELOPMENT RIDER

THIS PLANNED UNIT DEVELOPMENT RIDER is made this 2nd day of March, 2007, and is
incorporated into and shall be deemed to amend and supplement the Mortgage, Deed of Trust. or Security Deed
(the “Securily Instrument") of the sume dale, given by the undersigned (the "Berrower"} lo secure Borrower's
Note to THE LENDING PARTNERS, LTD. (the "Lender") of the same date and covering the Property
described in the Sccurity Instrument and located at:

5613 BAY MEADOWS DRIVE
FRISCO, TEXAS 75034-4611
(Property Address)

The Property includes, but is nut limited to. a pareel of land improved with a dwelling, together with other such
parcels and certuin common areas and facilities, as described in

COVENANTS, CONDITIONS, AND RESTRICTIONS
{the "Declaration"). The Property is a part ofa planned unit development known as

QUAIL MEADOW VILLAGE
(Name of Planned Unit Development)

{the "PUD"). The Property also includes Borrower's interest in the homeow ners association or equivalent entily
owning or managing the common areas und facilities of the PUT) (the “Owners Association") und the uses,
benetils and proceeds of Borrower's interest.

PUD COVENANTS, In addition lo the covenants and agreements made in the Security Instrument,
Borrower and Lender further covenant and agree as follows:

A. PUD Obligations. Borrower shall perform all of Borrower's obligations under the PL'D’s
Constituent Documents. The "Constituent Documents" are the (7) Declaration: (ii) articles of incorporation, trust
instrument or any equivalent document which creates the Owners Association; and Gil) any by-laws or other
rules or regulations of the Owners Association. Borrower shall promptly pay. when due, all dues and
ussussiments imposed pursuant lo the Constituent Documents.

B. Property Insurance. So long as the Owners Association maintains, with a generally aceepted
insurance carrier, a "master" or "blanket" policy insuring the Property which is satisfactory 10 Lender and which
provides insurance coverage in the amounts (including deductible levels), for the periods, and against loss by
fire, hazards included within the term "extended coverage." and any other hazards. including. but not limited to,
earthquakes and Hoods, tor which Lender requires insurance, then: (1) Lender waives the provision in Section 3
for the Periodic Payment to Lender of the yearly premium installments for property insurance on the Property:
and {ii) Borrower's obligation under Section 3 to maintain property insurance coverage on the Property is
deemed satisfied to the extent that the required coverage is provided by the Owners Association policy.

MULTISTATE PUD RIDER - Single Family - Fannie Mae/Freddie Mac UNIFORM INSTRUMENT
Form 3150 1/01
Page 1 of 2

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Loan \ i MN:

What Lender requires as a condition of this waiver can change during the term of the loan.

Borrower shall give Lender prompt notice of any lapse in required property insurance coverage
provided by the master or blanket policy.

In the event of a distribution of property insurance proceeds in lieu Of restoration or repair following a
loss to the Property. or to cummon areas and facilities of the PUD. any proceeds payable to Borrower are
hereby assigned and shall be paid tw Lender, Lender shall apply the procceds to the sums secured by the
Security Instrument, whether or not then due, with the excess. ifany, paid to Borrower.

C. Public Liability Insurance. Borrower shall uke such actions as may be reasonable to insure that
the Owners Association mainwins a public liability insurance policy acceptable in form, amount, and extent of
coverage to Lender.

D. Condemnation. The proceeds of any award or claim for damages, direet or consequential, payable
to Borrower in connection with any condemnation or other taking of all or any part of the Property or the
common areas and facilities of the PUD, or for any convevance in lieu of condemnation, are hereby assigned
and shall be paid to Lender. Such proceeds shall be applied by Lender to the sums secured by the Security
Instrument as provided in Section 11.

E. Lender's Prior Consent. Borrower shall not, except after notice to | .ender and with Lender’s prior
written consent, cither partilion or subdivide the Property or consent to: (i) the abandonment or termination of
the PUD, except for abandonment or termination required by Jaw in the case of substantial destruction by fire or
other casualty or in the case of a taking by condemnation or eminent domain; (it) any amendment to any
provision of the "Constituent Documents" il the provision is for (he express benefit of Lender; (iii) termination
of professional management and assumption of scl{-management of the Owners Association: or (iv) any action
which would have the effect of rendering the public liability insurance coverage maintained by the Owners
Association unaceeplable to Lender.

F. Remedies. 1f Borrower does not pay PUL dues and assessments when duc, then Lender may pay
them. Any amounts disbursed by Lender under this paragraph F shall become additional debt of Borrower
secured by the Security Instrument. Unless Borrower and Lender agree to other terms of payment, these
amounts shall bear interest from the date of disbursement at the Note rate and shall be payable. with interest,
upon notice fram Lender lo Borrower requesting payment.

BY SIGNING BELOW, Borrower accepts and agrees to tae terms and covenants contained in this
PUD Rider.
ighome, &

Fou D: viham, Oy Use d. renee , dD. Fy vp ace ses

JAMES D. GRISHAM BY -Borrower AMILETH D. GRISHAM -Borrower
YAMILETH D. GRISHAM
AS ATTORNEY IN FACT

   

 

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VMP- 7R (0411).01
 

 

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***Send Ali Notices to Assignee***

RECORDING REQUESTED BY:
WELLS FARGO BANK, N.A.
2761 WELLS FARGO WAY
MAC X9999-018
MINNEAPOLIS MN 55467-8000

AND WHEN RECORDED MAIL TO:
WELLS FARGO BANK, N.A.
DEFAULT ASSIGNMENT

MAC: X9999-018

PO BOX 1629

MINNEAPOLIS, MN 55440-9790

 

 

 

Parcel Identifier No:

MERS 1: :

MERS Telephone: 1-888-679-6377

ASSIGNMENT OF MORTGAGE

For Value Received, the undersigned holder of a Mortgage, MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC., AS
NOMINEE FOR THE LENDING PARTNERS, LIMITED, ITS SUCCESSORS AND ASSIGNS (herein "Assignor") whose address is
BOX 2026 FLINT MI 48501 1901 E VOORHEES ST STE C. DANVILLE, IL 61834, does hereby grant, sell, assign, transfer, and
convey, unto WELLS FARGO BANK, NA (hercin “Assignec"}, whose address is 1 HOME CAMPUS , DES MOINES, IA 50328 , a
certain Mortgage dated 03/02/2007 and recorded 03/07/2007 , made and executed by JAMES D. GRISHAM, AND SPOUSE
YAMILETH B. GRISHAM. , to and in favor of MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC. AS NOMINEE FOR
THE LENDING PARTNERS, LTD., ITS SUCCESSORS AND ASSIGNS upon the following described property. Such Mortgage
having been piven to secure payment of §202500.00 which Mortgage is of record in Book, Volume or Liber No. , at Page , as Document
Ue the Records of Denton County, State of TX , together with the note(s) and obligations therein described and the
money due and to become due thereon with interest, and all rights accrued or to accrue under such Mortgage.

Legal Description: BEING LOT 9, IN BLOCK 15, OF QUAIL MEADOW VILLAGE, PHASE 1, AN ADDITION TO THE CITY OF
FRISCO, DENTON COUNTY, TEXAS ACCORDING TO THE MAP THEREOF RECORDED IN CABINET U, PAGE 154, OF THE
PLAT RECORDS OF DENTON COUNTY, TEXAS.

TO HAVE AND TO HOLD the same unto Assignee, its successor and assigns, forever, subject only to the terms and conditions of
the above-described Mortgage.

IN WITNESS WHEREOF, the undersigned Assignor has executed this Assignment of Mortgage on 07/27/2012 .

MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC., AS NOMINEE FOR THE LENDING PARTNERS, LIMITED, ITS
SUCCESSORS AND ASSIGNS

Kakt

KATE LAUREL JOHNSON, Assistant Secretary

STATE OF MN
COUNTY OF Dakota
On 07/27/2012 , before me SCOTT GERALD HEURKINS , Notary Public, personally appeared KATE LAUREL, JOHNSON , Assistant
Seeretary personally known to me (or proved to me on the basis of satisfactory evidence), to be the person whose name is subscribed
to the within instrument and acknowledged to me that he/she executed the same in his/her authorized capacity, and that by his/her
signature on the instrument, the person or entity upon behalf of which the person acted, executed the instrument.

Witness my hand and official seal,

SCOTT GERALD HEURKINS
Commission #: 20324546
My Commission Expires: 01/31/2087

} s.s.

  

SCOTT GERALD HEURKINS
1 NOTARY PUBLIC-MINNESOTA
My Commission Expires
January 31, 2017

 
  

 
  

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** Electronically Filed Document ****

Denton County
Cynthia Mitchell
County Clerk

 

Document Number: Sia
Recorded As : ERX-ASSIGNMENT

Recorded On: July 27, 2012
Recorded At: 10:39:00 am
Number of Pages: 2
Recording Fee: $20.00
Parties:
Direct- MERS
Indirect-

Receipt Number: a
Processed By: Hilarie Dunn

 

sekennieees THIS PAGE IS PART OF THE INSTRUMENT ************

Any provision herein which restricts the Sale, Rental or use of the described REAL PROPERTY
because of color or race is invalid and unenforceable under federal law.

 

THE STATE UF TEXAS)
COUNTY OF DENTON]

Ykerchy certify thet this instrument wee FILED im tho File Nomber soquamce on che datefima
printed heron, end was daly RECORDED im the Official Records of Denton County, Tere,

Coshly Glart -
Dentos Comery, Tarat

 

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